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                               UNITED STATES DISTRICT COURT
                                          DISTRICT OF NEVADA


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     LARRY BOHN,
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11
            Plaintiff,
                                                  No. 2:I7-cv-00291-MMD-VCF
12   vs.


13
     KINUM,INC.
14
                                                  NOTICE OF SETTLEMENT
            Defendant.
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17          The parties have settled this matter and anticipate the filing of the dismissal documents

la   in approximately thirty (30) days.

IS          DATED: August 11, 2017

20                                          RespectfullY^subrt^ed,
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